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       EXHIBIT 10
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  From:             Christopher Greene
  To:               jeffschoep@gmail.com
  Cc:               Gabrielle E. Tenzer; Michael Bloch
  Subject:          Sines v. Kessler
  Date:             Wednesday, February 20, 2019 1:52:36 PM
  Attachments:      Engagement Ltr - Sines v. Kessler 021519 03.pdf


  Mr. Schoep,

  I represent the Plaintiffs in the Sines v. Kessler matter. As you know, on November 19, 2018, the
  Court ordered each Defendant to turn over his electronic devices and social media accounts to a
  third-party vendor for the vendor to image the device and produce the relevant contents to the
  Plaintiffs in this case. Before doing so, Defendants must sign the attached agreement. Please let us
  know if you will execute the agreement. If so, we will prepare a version for your signature.

  Moreover, the parties have a call scheduled today at 2 pm eastern to discuss search terms and
  related issues. If you are able to join that call, the dial in is (929) 294-2552; passcode 182426. If you
  are not able to join at 2, please let us know a convenient time for us to speak either later today or
  tomorrow.

  Regards,

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  350 Fifth Avenue | Suite 7110
  New York, New York 10118
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